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                                                               May 2, 2016

Via ECF

Kathleen Tomlinson, U.S.M.J.
United States District Court
100 Federal Plaza
Central Islip, New York 11722

       Re:   Bahl vs. NYCOM-NYIT, et al.
             Docket No.: 14-CV-4020 (LDW) (AKT)

Dear Magistrate Judge Tomlinson:

        This office represents the Plaintiff in the above referenced matter. I write to inform the
Court that the reason we did not file our papers on Friday is that we received NBOME’s reply
papers at 4:24p.m. this past Friday. I was on a subway at the time. When I saw the email and
the filing, it was past 5:00p.m. My paralegals had left for the day and I was not in the office. I
immediately informed defense counsel via email that I would file the papers the following
Monday (today).

       Nonetheless, I apologize to the Court that I did not confer with NBOME’s counsel to
ensure that the papers were filed on the same day. And, I thank the Court for the reminder to
file and send courtesy copies.


                                                Sincerely,

                                                LEEDS BROWN LAW, P.C.

                                                                /s/
                                                             Rick Ostrove


cc: All Counsel (via ECF)
